                       EXHIBIT A




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                              PURCHASE AND SALE AGREEMENT

       This Purchase and Sale Agreement (this “Agreement”) is made effective this 20th day of
February 2024, by and between EDMUND J. WOOD, TRUSTEE AS CHAPTER 7 TRUSTEE
(“Trustee”) for the bankruptcy estate of Asset Realty LLC (“Debtor”), in Case No. 23-10326-
MLB (the “Estate”) pending in the United States Bankruptcy Court of the Western District of
Washington (the “Bankruptcy Court”) and CHAD STOREY (“Purchaser”).

                                            I.      RECITALS

        A.        Purchaser was the managing member of Debtor, which developed a custom
                  computer program known as the Pipeline CRM to gather, unbundle, and store real
                  estate data in a SQL database, which could later be sorted to provide information
                  about real property based on inputted parameters (collectively the “Lead
                  Generation Program”).

        B.        The Lead Generation Program evolved to become a system that generates leads
                  for real estate agents for the identification of (i) distressed properties which may
                  be ready to be sold; (ii) potential clients who might be motivated to sell their real
                  property; and (iii) potential buyers of real property who have a known interest in
                  buying real property.

        C.        Real estate agents were given access to the Lead Generation Program, and any
                  sales transaction which closed as a result of a lead provided to the real estate
                  agent from the Lead Generation Program created an account receivable
                  commission owed to the Debtor (the “Accounts Receivable Commission” and if
                  more than one Accounts Receivable Commission, the “Accounts Receivable
                  Commissions”).

        D.        The Accounts Receivable Commission payable to the Debtor equals 25% of the
                  commission owed to the real estate agent (or in some circumstances where the
                  lead is an old lead, 30% of the commission owed to the real estate agent is
                  payable to the Debtor). The agreement with the real estate agents permits the
                  Debtor to collect the Accounts Receivable Commissions directly from the escrow
                  company closing the sale.

        E.        The Debtor filed Chapter 11 bankruptcy on February 22, 2023 under case number
                  23-10326-MLB (the “Bankruptcy Case”) and on December 22, 2023 the
                  Bankruptcy Case was converted to Chapter 7 at which time the Trustee was
                  appointed.

        F.        The Trustee and Purchaser have now agreed to enter this Agreement to permit the
                  Purchaser to purchase the Lead Generation Program and to pay the estate a
                  percentage of the Accounts Receivable Commissions collected for the benefit of
                  the bankruptcy estate.




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        G.        The Lead Generation Program is not accepting new real estate brokers into the
                  program and is not being updated with new software. As a result, the Lead
                  Generation Program will be closed down by no later than December 20, 2025.

                                          II.     AGREEMENT

        NOW, THEREFORE, in consideration of the mutual promises and obligations contained
herein and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Trustee and Purchaser hereby stipulate and agree as follows:

1.     RECITALS INCORPORATED. The recitals set forth above are incorporated herein by
reference.

2.     SALE OF PROPERTY. Trustee shall sell to Purchaser, and Purchaser shall buy from
Trustee, the Lead Generation Program and the Estate’s right, title and interest in and to the
Accounts Receivable Commissions generated from the Lead Generation Program (collectively
the “Property”).

        a.        Purchase Price and Manner of Payment. The total purchase price (“Purchase
                  Price”) for the Property shall equal 40% of all Accounts Receivable Commissions
                  collected by Purchaser through December 22, 2025 (the “Termination Date”), but
                  in no event shall Purchaser pay to the Estate via the Accounts Receivable
                  Commissions less than $100,000.00 by the Termination Date (the “Minimum
                  Payment”).

        b.        Purchaser Price Payment. For each sale to be closed arising from the Lead
                  Generation Program, Purchaser shall notify the Trustee of a pending closing at the
                  address set forth in section 6 herein within forty-eight hours of Purchaser learning
                  of the pending closing. Once a sale has closed, Purchaser shall be responsible for
                  picking up and delivering to the Trustee at the address set forth in section 6 herein
                  within 24 hours of each sale closing (i) a copy of the closing statement that resulted
                  from the Lead Generation Program and (ii) the entire associated Accounts
                  Receivable Commission check for such sale endorsed to “Edmund J. Wood as Asset
                  Realty LLC Trustee”. The Trustee shall deposit each such Accounts Receivable
                  Commission check in his trust account and once a check representing the Accounts
                  Receivable Commission has cleared the Trustee’s bank account, the Trustee shall
                  deliver to the Purchaser 60% of the Accounts Receivable Commission and retain
                  the remaining 40% for the benefit of the Estate. In no event shall each of
                  Purchaser’s portion of the Accounts Receivable Commission be delivered later than
                  Friday of the week following the date the Accounts Receivable Commission check
                  has cleared the Trustee’s bank account.

        c.        Security Interest. As security for the payment and performance of this Agreement,
                  Purchaser grants to Trustee as secured party, a security interest in the Property and
                  any products or proceeds thereof, pursuant to the Uniform Commercial Code of the
                  state of Washington (the “UCC”), on the terms and conditions contained herein.
                  Purchaser authorizes Trustee to file and/or record such financing statements as

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                  Trustee deems necessary or advisable to perfect the security interests herein
                  granted. The security interest granted herein shall continue until the Termination
                  Date at which time the Trustee will release the security interest in the Property by
                  filing a UCC termination statement with the appropriate state agency in which the
                  security interest was perfected.

        d.        Records and Reporting. Purchaser will maintain administrative and financial
                  records for all pending Accounts Receivable Commissions and all Accounts
                  Receivable Commissions collected. Specifically, on the first day of each month,
                  Purchaser shall deliver to the Trustee and his counsel by email at the addresses
                  listed in section 6 herein a report of Lead Generation Accounts Receivable setting
                  forth closed sales for the prior month; (ii) the amount paid to the estate for each
                  Lead Generation Program sale for such month; and (ii) any pending sales arising
                  from the Lead Generation Program to be closed that may result in an Accounts
                  Receivable Commission to be paid to the estate (collectively the “Report”). In the
                  event that the first day of the month is a Saturday or Sunday, Purchaser shall deliver
                  the Report as required herein on the next business day. The reporting requirements
                  shall continue until the earlier of the Expiration Date or the Termination Date.

3.      CLOSING.

        a.        Timing. The closing of the purchase and sale contemplated by this Agreement for
                  the Property (the “Closing”) shall occur no later than five (5) days after the entry
                  of an Order from the Bankruptcy Court (the “Court Order”) as contemplated by
                  section 8 herein (or such later date on which Trustee and Purchaser agree) (the
                  “Closing Date”).

        b.        Location of Closing. The Closing shall take place remotely upon the exchange of
                  the documentation set forth below between Trustee and Purchaser, or such other
                  means or location as is mutually agreeable to Trustee and Purchaser.

        c.        Trustee’s Deliveries. On the Closing Date, Trustee shall execute and deliver to
                  the Purchaser the following (“Trustee’s Deliveries”):

                  i.     Quit Claim Bill of Sale. A quit claim Bill of Sale, in the form attached
                         hereto as Exhibit B, conveying title to the Property to Purchaser (“Bill of
                         Sale”); and

                  ii.    Court Order. A copy of the Court Order

        d.        Purchaser’s Deliveries. On the Closing Date, Purchaser shall execute and deliver
                  to Trustee the following (“Purchaser’s Deliveries”):

                  i.     Report. The first Report as required by section 2.c. herein.




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4.    AS-IS.  EXCEPT AS EXPRESSLY SET FORTH HEREIN, PURCHASER
ACKNOWLEDGES THAT TRUSTEE MAKES NO REPRESENTATIONS OR WARRANTIES
WHATSOEVER REGARDING THE PROPERTY, INCLUDING BUT NOT LIMITED TO,
REPRESENTATIONS OR WARRANTIES RELATED TO PHYSICAL CONDITION,
MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE. PURCHASER HAS
INDEPENDENTLY INSPECTED THE PROPERTY AND IS NOT RELYING ON ANY
AGREEMENT, UNDERSTANDING, CONDITION, WARRANTY (INCLUDING, WITHOUT
LIMITATION, WARRANTIES MERCHANTABILITY OR FITNESS FOR A PARTICULAR
PURPOSE) OR REPRESENTATIONS MADE BY TRUSTEE,        OR ANY AGENT,
EMPLOYEE, MEMBER, OFFICER OR PRINCIPAL OF TRUSTEE OR DEBTOR OR ANY
OTHER PARTY AS TO ANY MATTERS INCLUDING, BUT NOT LIMITED TO, THE
PHYSICAL CONDITION OF THE PROPERTY OR COMPLIANCE THEREOF WITH
FEDERAL, STATE OR LOCAL LAWS REGARDING THE PROPERTY. PURCHASER
ACKNOWLEDGES THAT NEITHER TRUSTEE OR DEBTOR (NOR ANY AGENT,
MEMBER, OFFICER, EMPLOYEE OR PRINCIPAL OF TRUSTEE OR DEBTOR) HAS
MADE OR SHALL BE DEEMED TO HAVE MADE ANY SUCH AGREEMENT,
CONDITION, REPRESENTATION OR WARRANTY EITHER EXPRESSED OR IMPLIED.
THIS SECTION SHALL SURVIVE CLOSING AND DELIVERY OF THE BILL OF SALE,
AND SHALL BE DEEMED INCORPORATED BY REFERENCE AND MADE A PART OF
ALL DOCUMENTS DELIVERED BY TRUSTEE TO PURCHASER IN CONNECTION WITH
THE SALE OF THE PROPERTY.

5.     DEFAULT. In the event that either party defaults in any of their respective obligations
under this Agreement and such default remains uncured for a period of ten (10) days following
written notice of such default, the non-defaulting party shall have the right, at its option, to
terminate this Agreement or seek specific performance of the defaulting party. In any proceeding
to enforce this Agreement or any term hereof, the prevailing party shall be entitled to recover its
reasonable costs and attorneys’ fees.

6.      NOTICES. Any notice, request, demand, payment, election or other communication
permitted or required hereunder shall be in writing and shall be deemed duly given when delivered
personally, or delivered to a reputable overnight courier addressed to the party for whom it is
intended at the address specified below or at such other address as either party shall notify the
other, or transmitted by electronic mail to the email address specified below; and shall be deemed
received by the party to whom it is directed on the date delivered if delivered personally, on the
date one day after the date sent by overnight courier, or on the date the electronic mail is received.

If to Trustee:                         Edmund J. Wood, Trustee
                                       Wood & Jones, P.S.
                                       303 N. 67th Street
                                       Seattle, WA 98103
                                       Phone: (206) 623-4382
                                       Email: ewood@aol.com




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With copy to:                              Deborah A. Crabbe, Esq.
                                           Foster Pepper PLLC
                                           1111 Third Ave., Suite 3000
                                           Seattle, WA 98101
                                           Phone: (206) 447-5325
                                           Email: deborah.crabbe@foster.com

If to Purchaser:                          Chad Storey
                                          chad.storey@c21nwr.com


7.      COURT ORDER AND SALE PROCEDURES. The sale of the Property contemplated
herein is subject to approval by the Bankruptcy Court authorizing the sale of the Property to
Purchaser as provided herein, free and clear of liens and interests under 11 U.S.C. Section 363.
Trustee shall set a hearing before the Bankruptcy Court on March 21, 2024 to approve the sale of
the Property to Purchaser and shall notice the hearing in accordance with federal and local
bankruptcy rules to afford any individual or entity to submit a competing offer for the Property
(each, a “Competing Purchaser”) or to object to the sale. The sale procedure for a Competing
Purchaser to submit a competing offer for the Property shall be as follows:

        a.          Third Party Offers. A Competing Purchaser wishing to submit a competing offer
                    for the Property must:

                  i.       deliver to Trustee a form of purchase agreement identical in all respects to
                           this Agreement except that Competing Purchaser (1) will change
                           Purchaser’s name to the Competing Purchaser’s name in the Agreement
                           and;

              ii.          offer a purchase price to the estate of at least $50,000 to be paid at Closing
                           in addition to paying the estate 40% of all of the Accounts Receivable
                           Commissions for the period December 22, 2023 through December 22,
                           2025, but in no event shall the payment to the estate of 40% of all of the
                           Accounts Receivable Commissions be less than the Minimum Payment.

ANY VARIANCE FROM THE REQUIREMENTS ABOVE WILL DISQUALIFY AN
OFFER FROM A COMPETING PURCHASER.

        b.          Auction. In the event that there are competing offers for the Property received by
                    Trustee on or before March 14, 2024, which satisfy the requirements above,
                    Purchaser will have until 1:00 p.m. on March 18, 2024 to match or beat any such
                    competing offer. If Purchaser matches or beats the competing offer, and the
                    Competing Purchaser(s) wish to still compete against Purchaser, all Competing
                    Purchaser(s) and Purchaser will have until 1:00 p.m. March 19, 2024, which is
                    approximately two days before the scheduled hearing date, to submit their highest
                    and best written offer to Trustee on an addendum to the purchase agreement, which
                    Trustee will circulate to Purchaser and the Competing Purchaser(s). The
                    submission of the highest and best offers will be undertaken confidentially and will

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                  not be shared with Purchaser and the Competing Purchaser(s) until the highest offer
                  has been determined, which will be based solely on the highest dollar amount
                  offered. The submission of the highest and best offer from each of Purchaser and
                  the Competing Purchaser(s) may contain an escalation clause in $5,000 increments
                  up to the submitting party’s cap on their purchase offer. The highest offer, based
                  solely on the highest dollar amount offered, will be presented to the Court at the
                  hearing.

8.      MISCELLANEOUS.

        a.        Entire Agreement; Modification. This Agreement constitutes the complete
                  agreement between the parties and supersedes any prior oral or written agreements
                  between the parties regarding the Property. There are no verbal agreements that
                  change this Agreement and no waiver of any of its terms will be effective unless in
                  a writing executed by the parties.

        b.        Binding Effect. This Agreement binds and benefits the parties and their successors
                  and assigns.

        c.        Survival. All of the terms of this Agreement will survive and be enforceable after
                  the Closing.

        d.        Captions. The paragraph headings or captions appearing in this Agreement are for
                  convenience only, are not a part of this Agreement, and are not to be considered in
                  interpreting this Agreement.

        e.        Parties To Bear Own Fees and Costs. The Trustee and Purchaser shall assume
                  responsibility for the payment of their own attorneys’ fees, costs, and expenses in
                  this matter, including the negotiation of this Agreement and the legal work
                  associated with obtaining the entry of an Order approving this Agreement by the
                  Bankruptcy Court.

        f.        Governing Law and Venue. This Agreement has been executed under and shall
                  be construed in accordance with the laws of the State of Washington and the laws
                  of the United States Bankruptcy Code. If there is any litigation or other proceeding
                  to enforce or interpret any provision of this Agreement, jurisdiction shall be in the
                  Bankruptcy Court.

        g.        Attorneys’ Fees and Costs. In the event of any suit, action, or arbitration to
                  interpret or enforce the provisions of this Agreement, the prevailing party, as
                  defined in RCW 4.84.330 shall be entitled to an award of its reasonable attorneys’
                  fees, costs, and expenses incurred in such action or arbitration and in any appeal
                  therefrom, in addition to all other remedies afforded the prevailing party.




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        h.        Representation Regarding Authority to Execute Agreement. The Trustee and
                  Purchaser each represent that they have the power and authority to enter into this
                  Agreement.

        i.        Assignment. Purchaser may not assign this Agreement, or any rights or obligations
                  under or relating to this Agreement, whether voluntarily, involuntarily or by
                  operation of law, without the prior written consent of Trustee, and any such
                  purported assignment will be void.



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                                   EXHIBIT A

                         QUIT CLAIM BILL OF SALE




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